  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 1 of 10 PageID 11923
                                               EXHIBIT C




                                               EIN #XX-XXXXXXX


                                     CFTC V. ZILMIL, INC. ET AL
                                           Client ID: 90118
                                     Tax Invoice #8543 - 01/31/22
                                      TIME SUMMARY BY STAFF

    Staff                                                               Hours           Rate         Amount

KJJ - KY JOHNSON - PARAPROFESSIONAL                                        0.40         180.00           72.00

LJJ - LESLEY JOHNSON - PARTNER/TAX CPA, CIRA                               0.20         540.00          108.00

 TOTAL                                                                     0.60                        $180.00


                                                                 BLENDED RATE          $300.00


                                                                 TOTAL EXPENSES                           28.67

 TOTAL AMOUNT OF THIS INVOICE                                                                           $208.67




  ___________________________________________________________________________________________________________
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  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 2 of 10 PageID 11924




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                                               Fort Lauderdale, FL 33316
                        Phone - 954-761-1011 F - 954-761-1033 www.kapilamukamal.com
                                                EIN #XX-XXXXXXX
CFTC V. ZILMIL, INC. ET AL
C/O KENNETH D. MURENA, RECEIVER                                                                      Invoice: 8543
VIA EMAIL ONLY: KMURENA@DVLLP.COM
                                                                                                     01/31/2022
1000 BRICKELL AVE., STE 1020
MIAMI, FL 33131                                                                                      Client ID: 90118

For Professional Services Rendered Through January 31, 2022

DATE         STAFF                         DESCRIPTION                                               HRS          AMOUNT
TAX SERVICES - PREPARE FORMS
01/20/2022   KJJ      PREPARATION OF FORMS 1099-NEC & 1096 FOR 2021 - SCHARF                         0.20             36.00
                      IN RECEIVERSHIP
01/21/2022   LJJ      REVIEW FORMS 1099NEC                                                           0.20            108.00
01/21/2022   KJJ      FINALIZE FORMS 1099-NEC & 1096 FOR 2021 - CFTC V. SCHARF                       0.20             36.00



                                                                                                                     180.00

                                                                                                                     180.00
EXPENSES
01/24/2022   EXP      FEDEX - CFTC V. SCHARF                                                                          27.62
01/31/2022   EXP      PRINTED COPIES - JANUARY 2022 (01/01/22-01/31/22)                                                 1.05



                                                                                                                      28.67

                                                                                                                      28.67


                                                                      Total amount of this invoice                $208.67



                                          OPTIONAL WIRE/ACH INSTRUCTIONS

                                 Bank Name:               The Northern Trust Company
                                                          1100 East Las Olas Blvd.
                                                          Fort Lauderdale, FL 33301-2387
                                                          Phone: 954-768-4053
                                                          Fax:    954-768-4017

                                 Bank ABA Routing:        071000152

                                 Swift Code:              CNORUS44

                                 Account Name:            KAPILAMUKAMAL, LLP

                                 Account Number:          2841002703
  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 3 of 10 PageID 11925

KapilaMukamal, LLP                         Invoice #8543            2/10/2022                     Page 2 of 2




                 Invoice payable upon receipt. Thank you for this opportunity to be of service.
  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 4 of 10 PageID 11926




                                               EIN #XX-XXXXXXX


                                     CFTC V. ZILMIL, INC. ET AL
                                           Client ID: 90118
                                     Tax Invoice #8833 - 04/30/22
                                      TIME SUMMARY BY STAFF

    Staff                                                               Hours           Rate         Amount

JRH - JENNIFER HEIDER - TAX CONSULTANT CPA                                 1.40         286.00          400.40

 TOTAL                                                                     1.40                        $400.40


                                                              BLENDED RATE             $286.00


                                                                 TOTAL EXPENSES                            7.70

 TOTAL AMOUNT OF THIS INVOICE                                                                           $408.10




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  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 5 of 10 PageID 11927




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                        Phone - 954-761-1011 F - 954-761-1033 www.kapilamukamal.com
                                                EIN #XX-XXXXXXX
CFTC V. ZILMIL, INC. ET AL
C/O KENNETH D. MURENA, RECEIVER                                                                   Invoice: 8833
VIA EMAIL ONLY: KMURENA@DVLLP.COM
                                                                                                  04/30/2022
1000 BRICKELL AVE., STE 1020
MIAMI, FL 33131                                                                                   Client ID: 90118

For Professional Services Rendered Through April 30, 2022

DATE         STAFF                         DESCRIPTION                                            HRS          AMOUNT
TAX SERVICES - PREPARE FORMS
04/20/2022   JRH      REVIEW AND ANALYSIS OF DOCKET AND RELATED PLEADINGS                         1.40            400.40
                      FOR PREPARATION OF FEDERAL FORM 1041, U.S. FIDUCIARY
                      INCOME TAX RETURN FOR CFTC V SCHARF IN RECEIVERSHIP
                      FOR 2021.



                                                                                                                  400.40

                                                                                                                  400.40
EXPENSES
04/30/2022   EXP      PACER - APRIL 2022                                                                             7.70



                                                                                                                     7.70

                                                                                                                     7.70


                                                                   Total amount of this invoice                $408.10




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  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 6 of 10 PageID 11928




                                               EIN #XX-XXXXXXX


                                      CFTC V. ZILMIL, INC. ET AL
                                            Client ID: 90118
                                      Tax Invoice #8937 - 05/31/22
                                      TIME SUMMARY BY STAFF

    Staff                                                               Hours           Rate         Amount

JRH - JENNIFER HEIDER - TAX CONSULTANT CPA                                 4.20         286.00        1,201.20

KJJ - KY JOHNSON - PARAPROFESSIONAL                                        0.30         180.00           54.00

LJJ - LESLEY JOHNSON - PARTNER/TAX CPA, CIRA                               4.00         540.00        2,160.00

 TOTAL                                                                     8.50                      $3,415.20


                                                                 BLENDED RATE          $401.79


                                                                 TOTAL EXPENSES                           63.88

 TOTAL AMOUNT OF THIS INVOICE                                                                         $3,479.08




  ___________________________________________________________________________________________________________
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  Case 3:17-cv-00774-TJC-MCR Document 336-3 Filed 08/15/22 Page 7 of 10 PageID 11929




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                                                EIN #XX-XXXXXXX
CFTC V. ZILMIL, INC. ET AL
C/O KENNETH D. MURENA, RECEIVER                                                                   Invoice: 8937
VIA EMAIL ONLY: KMURENA@DVLLP.COM
                                                                                                  05/31/2022
1000 BRICKELL AVE., STE 1020
MIAMI, FL 33131                                                                                   Client ID: 90118

For Professional Services Rendered Through June 30, 2022

DATE         STAFF                         DESCRIPTION                                            HRS          AMOUNT
TAX SERVICES - PREPARE FORMS
05/05/2022   JRH      PREPARATION OF FEDERAL FORM 1041, U.S. FIDUCIARY                            4.20         1,201.20
                      INCOME TAX RETURN FOR CFTC V SCHARF ET AL IN
                      RECEIVERSHIP FOR 2021.
05/05/2022   LJJ      REVIEW OPEN ISSUES WITH J. HEIDER                                           0.30            162.00
05/06/2022   LJJ      DISC OPEN ISSUES WITH J. HEIDER AND REVIEW CLOSING                          0.40            216.00
                      STATEMENT
05/09/2022   LJJ      REVIEW 2021 ACCOUNTING AND FORM 1041                                        2.40         1,296.00
05/10/2022   LJJ      ADDRESS IRS 2020 NOTICE REGARDING 1099 EIN                                  0.20            108.00
05/10/2022   KJJ      FINALIZE FORM 1041 FOR 2021                                                 0.30             54.00
05/11/2022   LJJ      FINALIZE AND SIGN 2021 TRUST TAX RETURN                                     0.20            108.00
05/20/2022   LJJ      DOCUMENT INFORMATION NECESSARY TO RESPOND TO IRS                            0.50            270.00
                      1099 INFORMATION NOTICE



                                                                                                               3,415.20

                                                                                                               3,415.20
EXPENSES
05/13/2022   EXP      FEDEX                                                                                        30.73
05/31/2022   EXP      PRINTED COPIES - MAY 2022 (05/01/22-05/31/22)                                                33.15



                                                                                                                  63.88

                                                                                                                  63.88


                                                                   Total amount of this invoice             $3,479.08




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                                              EXHIBIT C-1




                                               EIN #XX-XXXXXXX


                                     CFTC V. ZILMIL, INC. ET AL
                                          Client ID: 90118
                                      Invoice #5741 - 06/30/19
                                      TIME SUMMARY BY STAFF

    Staff                                                               Hours           Rate         Amount

MMD - MELISSA DAVIS - PARTNER CPA, CIRA, CFE                               0.30         275.00           82.50

FDD - FRANK DIAZ-DRAGO - CONSULTANT                                        4.10         275.00        1,127.50

MCP - MARK PARISI - CONSULTANT CPA, CFE, CIRA                              1.60         275.00          440.00

ESZ - ELI ZUCKERMAN - FORENSIC ANALYST                                     2.00         150.00          300.00

 TOTAL
                                                                           8.00                      $1,950.00


                                                                 BLENDED RATE          $243.75


                                                             TOTAL EXPENSES                               30.47

 TOTAL AMOUNT OF THIS INVOICE                                                                         $1,980.47




  ___________________________________________________________________________________________________________
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                                       1000 S. Federal Highway, Suite 200
                                           Fort Lauderdale, FL 33316
                        Phone - 954-761-1011 F - 954-761-1033 www.kapilamukamal.com
                                                EIN #XX-XXXXXXX
CFTC V. ZILMIL, INC. ET AL
C/O KENNETH D. MURENA, RECEIVER                                                       Invoice: 5741
VIA EMAIL ONLY: KMURENA@DVLLP.COM
                                                                                      06/30/2019
1000 BRICKELL AVE., STE 1020
MIAMI, FL 33131                                                                       Client ID: 90118

For Professional Services Rendered Through June 30, 2019

DATE         STAFF                       DESCRIPTION                                  HRS          AMOUNT
LITIGATION SUPPORT
06/06/2019   ESZ      PREPARE BANK RECONCILIATION SCHEDULES                           2.00            300.00
06/06/2019   FDD      PREPARE TRANSFER SCHEDULES.                                     0.70            192.50
06/11/2019   FDD      PREPARE TRANSFER SCHEDULES FOR DEMAND LETTERS                   0.70            192.50
                      (CONTINUED).
06/11/2019   FDD      PREPARE TRANSFER SCHEDULES FOR DEMAND LETTERS.                  1.80            495.00
06/13/2019   FDD      PREPARE A SCHEDULE OF TRANSFERS MADE TO SHAH ET AL.             0.50            137.50
                      FROM ACCOUNTS HELD BY ZILMIL AND MICHAEL SHAH.
06/20/2019   MCP      ANALYSIS OF SHAH AND INFINITI WEB ACCOUNTS. COMPILE             1.60            440.00
                      SUPPORT.
06/20/2019   MMD      REVIEW BANK RECONSTRUCTIONS FOR SHAH AND MANOJ                  0.30             82.50
                      SHAH.
06/28/2019   FDD      EXTRACT SUPPORTING DOCUMENTS RE: TRANSFERS MADE                 0.20             55.00
                      TO CUNA MUTUAL.
06/28/2019   FDD      EXTRACT SUPPORTING DOCUMENTS RE: TRANSFERS MADE                 0.20             55.00
                      TO JASON GAZAWAY.



                                                                                                   1,950.00

                                                                                                   1,950.00
EXPENSES
02/13/2019   EXP      POSTAGE                                                                            0.50
02/28/2019   EXP      PRINTED COPIES - FEBRUARY (02/01/19 - 02/28/19)                                    2.10
04/30/2019   EXP      SHAREFILE - APRIL 2019                                                             2.11
05/31/2019   EXP      PACER - MAY 2019                                                                   1.90
05/31/2019   EXP      SHAREFILE - MAY 2019                                                               2.05
06/15/2019   EXP      PRINTED COPIES - JUNE (06/01/19 - 06/15/19)                                        1.20
06/20/2019   EXP      ACTIONABLE INTELLIGENCE TECHNOLOGIES - INV 2366 - JUNE                           16.80
                      2019
06/30/2019   EXP      SHAREFILE - JUNE 2019                                                              1.71
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                                             Invoice #5741            7/15/2019                      Page 2 of 2




06/30/2019   EXP   PACER - JUNE 2019                                                                      2.10



                                                                                                         30.47

                                                                                                         30.47


                                                                Total amount of this invoice        $1,980.47




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